Case 5:19-cv-01755-JAK-SP Document 26 Filed 12/29/20 Page 1 of 2 Page ID #:341

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  8
                         UNITED STATES DISTRICT COURT
  9
                       CENTRAL DISTRICT OF CALIFORNIA
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      BRIAN MONTERROSO,                    No. 5:19-cv-01755 JAK (SPx)
 12
                Plaintiff,                 ORDER RE JOINT STIPULATION
 13                                        AND REQUEST FOR DISMISSAL OF
          v.                               ENTIRE ACTION WITH PREJUDICE
 14                                        PURSUANT TO FED. R. CIV. P. 41
      AMERICOLD LOGISTICS LLC and          (DKT. 25)
 15
      DOES 1 to 100, inclusive,
 16
                Defendants.
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Case 5:19-cv-01755-JAK-SP Document 26 Filed 12/29/20 Page 2 of 2 Page ID #:342



  1         Based on a review of the Joint Stipulation and Request for Dismissal of Entire
  2   Action with Prejudice Pursuant to Fed. R. Civ. P. 41 (the “Stipulation” (Dkt. 25)),
  3 sufficient good cause has been shown for the requested relief. Therefore, the

  4 Stipulation is APPROVED. The entire action is hereby dismissed with prejudice.

  5 Each party shall bear its own attorney’s fees and costs.

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  7 IT IS SO ORDERED.

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      Dated: December 29, 2020           ______________________________________
 10                                     John A. Kronstadt
                                        United States District Judge
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